         Case 1:21-cv-00532-SAG Document 116-1 Filed 09/20/21 Page 1 of 1



                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                               *

         Plaintiff,                           *

v.                                            *     Case No.: 1:21-CV-00532-SAG

M&T BANK,                                     *

         Defendant.                           *

*        *        *         *   *        *    *    *   *        *      *      *      *
                                        [PROPOSED] ORDER

         This Court having considered the Omnibus Motion for Entry of Final Judgment filed by

Plaintiff Bryce Carrasco, the Opposition to the Motion filed by Defendant M&T Bank, and all

other considerations made, it is this     day of                , 2021, hereby ORDERED that

Plaintiff Bryce Carrasco’s Omnibus Motion for Entry of Final Judgment (ECF No. 97) is DENIED.



                                              _____________________________________
                                              The Honorable Stephanie A. Gallagher
                                              Judge, United States District Court




MT2\000018\4850-5546-4443
